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                          United States District Court
                                             Western District of Wisconsin
                   UNITED STATES OF AMERICA                             AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                           (for offenses com m itted on or after N ovem ber 1, 1987)
                                                                                           RE-SENTENCING

                                  V.                                              Case Number:               08-CR-105-C-04

             TEODULO PINEDA-BUENAVENTURA                                 Defendant's Attorney:               Terry W . Frederick




The defendant, Teodulo Pineda-Buenaventura, pleaded guilty to count 1 of the indictment.


ACCORDINGLY, the court has adjudicated defendant guilty of the following offense(s):
                                                                                                         Date Offense              Count
Title & Section                        Nature of Offense                                                 Concluded               Number(s)
21 U.S.C. § 846                        Conspiracy to Distribute 500 Grams or More of a                   June 19, 2008               1
                                       Mixture or Substance Containing Cocaine, a
                                       violation of 21 U.S.C. § 841(a)(1), a Class B felony


The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United
States Attorney of any material change in the defendant’s economic circumstances.




  Defendant's Date of Birth:               February 17, 1979                                                December 9, 2010
                                                                                                     Date of Imposition of Judgment
  Defendant's USM No.:                     06670-090

  Defendant's Residence Address:           Mexico                                                          /s/ Barbara B. Crabb
                                                                                                             Barbara B. Crabb
  Defendant's Mailing Address:             c/o Bureau of Prisons
                                                                                                              District Judge

                                                                                                            December 9, 2010
                                                                                                               Date Signed:
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                                                IMPRISONMENT
As to count one of the indictment, it is adjudged that defendant is committed to the custody of the Bureau of Prisons for
imprisonment for a term of 50 months. In all other respects, the judgment remains as entered on February 19, 2009.

I recommend that defendant be afforded the opportunity to participate in substance abuse education and treatment programs,
as well as vocational training, while confined.

The probation office is directed to send the U.S. Department of Homeland Security - Bureau of Immigration and Customs
Enforcement a copy of this judgment and is to provide the court a copy of the transmittal letter.




                                                        RETURN

     I have executed this judgment as follow s:




     Defendant delivered on                                   to

at                                , with a certified copy of this judgment.




                                                                              UNITED STATES MARSHAL
                                                       By
                                                                                    Deputy Marshal
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                                            SUPERVISED RELEASE
The term of imprisonment is to be followed by a five-year term of supervised release. If defendant is not deported, he shall
comply with the standard conditions of supervision.

Defendant shall report to the probation office in the district to which defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

Defendant shall not commit another federal, state, or local crime.

Defendant shall not illegally possess a controlled substance.

If defendant has been convicted of a felony, defendant shall not possess a firearm, destructive device, or other dangerous
weapon while on supervised release.

Defendant shall cooperate with the collection of DNA by the U.S. Justice Department and/or the U.S. Probation and Pretrial
Services Office as required by Public Law 108-405.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that defendant pay any
such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Schedule of Payments set forth in the Financial Penalties sheet of this judgment.

Defendant shall comply with the standard conditions that have been adopted by this court (set forth on the next page).

In light of the nature of the offense and his use of controlled substances, the following special conditions are appropriate.
Defendant is to:

1.   Spend the first 60 days of his supervision in a residential re-entry center with work release privileges if he is not deported
     and has not been granted pre-release placement in a residential re-entry center;

2.   Comply with the rules and regulations of the Bureau of Immigration and Customs Enforcement under the United States
     Department of Homeland Security and if deported or excluded from the United States, either voluntarily or involuntarily,
     not re-enter the United States without legal permission. If re-entry into the United States occurs, defendant shall report
     to the nearest probation office within 72 hours;

3.   Register with local law enforcement agencies and the state attorney general as directed by the supervising U.S. probation
     officer;

4.   Provide the supervising U.S. probation officer any and all requested financial information, including copies of state and
     federal tax returns;

5.   Submit his person, property, residence, office or vehicle to a search conducted by a U.S. probation officer at a reasonable
     time and in a reasonable manner whenever the probation officer has reasonable suspicion of contraband or of the violation
     of a condition of release; failure to submit to a search may be a ground for revocation; defendant shall warn any other
     residents that the premises he is occupying may be subject to searches pursuant to this condition; and

6.   Abstain from the use of illegal drugs and alcohol and from association with drug users and sellers and participate in
     substance abuse treatment. Defendant shall submit to drug testing beginning within 15 days of his release and 60 drug
     tests annually thereafter. The probation office may utilize the Administrative Office of the U.S. Courts’ phased collection
     process.
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                          STANDARD CONDITIONS OF SUPERVISION
  1)   Defendant shall not leave the judicial district without the permission of the court or probation officer;

  2)   Defendant shall report to the probation officer as directed by the court or probation officer and shall submit a
       truthful and complete written report within the first five days of each month;

  3)   Defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
       officer;

  4)   Defendant shall support his or her dependents and meet other family responsibilities;

  5)   Defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
       training, or other acceptable reasons;

  6)   Defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

  7)   Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or
       administer any narcotic or other controlled substance, or any paraphernalia related to such substances except as
       prescribed by a physician;

  8)   Defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
       administered;

  9)   Defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any
       person convicted of a felony unless granted permission to do so by the probation officer;

 10)   Defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
       confiscation of any contraband observed in plain view by the probation officer;

 11)   Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
       enforcement officer;

 12)   Defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
       agency without the permission of the court;

 13)   As directed by the probation officer, defendant shall notify third parties of risks that may be occasioned by
       defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make
       such notifications and to confirm defendant's compliance with such notification requirement.
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                                 CRIMINAL MONETARY PENALTIES
Defendant shall pay the following total financial penalties in accordance with the schedule of payments set forth below.


                       Count         Assessment             Fine                  Restitution

                         1           $100.00                $0.00                 $0.00

                       Total         $100.00                $0.00                 $0.00



It is adjudged that defendant is to pay a $100 criminal assessment penalty to the Clerk of Court for the W estern District of
W isconsin immediately following sentencing.

Defendant does not have the means to pay a fine under § 5E1.2(c) without impairing his ability to support himself upon release.
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                                       SCHEDULE OF PAYMENTS
Payments shall be applied in the following order:
                                                      (1) assessment;
                                                      (2) restitution;
                                                      (3) fine principal;
                                                      (4) cost of prosecution;
                                                      (5) interest;
                                                      (6) penalties.


The total fine and other monetary penalties shall be due in full immediately unless otherwise stated elsewhere.




Unless the court has expressly ordered otherwise in the special instructions above, if the judgment imposes a period of
imprisonment, payment of monetary penalties shall be due during the period of imprisonment. All criminal monetary penalties,
except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to
the clerk of court, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

In the event of a civil settlement between victim and defendant, defendant must provide evidence of such payments or
settlement to the Court, U.S. Probation office, and U.S. Attorney’s office so that defendant’s account can be credited.
